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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE
 PENNY NINIVAGGI, MICHAEL NINIVAGGI,
 TODD MICKEY, JAKE MICKEY, JAMES                     Civil Action No. 1:20-cv-01478-MN
 NIGRELLI and CAILIN NIGRELLI, individually
 and on behalf of all others similarly situated,

                              Plaintiffs,

        v.

 UNIVERSITY OF DELAWARE,

                              Defendant.


               MOTION AND ORDER FOR ADMISSION PRO HAC VICE
       Pursuant to Local Rule 83.5 and the attached certification, counsel moves the admission

pro hac vice of Sarah N. Westcot to represent Plaintiffs Penny Ninivaggi, Michael Ninivaggi,

Todd Mickey, Jake Mickey, James Nigrelli and Cailin Nigrelli in the above-captioned matter.

Dated: April 27, 2021                           CHIMICLES SCHWARTZ KRINER &
                                                DONALDSON-SMITH LLP
                                                 /s/ Robert J. Kriner, Jr.    _
                                                Robert J. Kriner, Jr. (#2546)
                                                Scott M. Tucker (#4925)
                                                2711 Centerville Road, Suite 201
                                                Wilmington, DE 19808
                                                (302) 656-2500
                                                Attorneys for Plaintiffs

                              ORDER GRANTING MOTION
       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice of Sarah N.

Westcot is granted.

Dated: ______________________                             ___________________________
                                                            United States District Judge
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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the States of Florida and

California and pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court

for any alleged misconduct which occurs in the preparation or course of this action. I also certify

that I am generally familiar with this Court’s Local Rules. In accordance with Standing Order for

District Court Fund effective 9/1/16, I further certify that the annual fee of $25.00 has been ☐

paid to the Clerk of Court, or, if not paid previously, the fee payment will be submitted ☒ to the

Clerk’s Office upon the filing of this motion.

Dated: April 27, 2021                                 /s/ Sarah N. Westcot        _
                                                      BURSOR & FISHER, P.A.
                                                      Sarah N. Westcot
                                                      701 Brickell Ave, Suite 1420
                                                      Miami, FL 33131
                                                      Telephone: (305) 330-5512
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                                                      Email: swestcot@bursor.com




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